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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

DEMARCUS ANTONIO TAYLOR,                 §
TDCJ No. 2082883,                        §
                                         §
             Petitioner,                 §
                                         §
V.                                       §          No. 3:17-cv-1153-N
                                         §
DIRECTOR, TDCJ-CID,                      §
                                         §
             Respondent.                 §

         ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
      RECOMMENDATION OF THE UNITED STATES MAGISTRATE
      JUDGE AND DENYING A CERTIFICATE OF APPEALABILITY

      The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. An objection was filed by Petitioner. The District Court

reviewed de novo those portions of the proposed findings, conclusions, and

recommendation to which objection was made, and reviewed the remaining proposed

findings, conclusions, and recommendation for plain error. Finding no error, the

Court ACCEPTS the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge.

      Considering the record in this case and pursuant to Federal Rule of Appellate

Procedure 22(b), Rule 11(a) of the Rules Governing §§ 2254 and 2255 proceedings,

and 28 U.S.C. § 2253(c), the Court DENIES a certificate of appealability. The Court

adopts and incorporates by reference the Magistrate Judge’s Findings, Conclusions,

and Recommendation filed in this case in support of its finding that Petitioner has


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failed to show that reasonable jurists would find “it debatable whether the petition

states a valid claim of the denial of a constitutional right” or “debatable whether [this

Court] was correct in its procedural ruling.” Slack v. McDaniel, 529 U.S. 473, 484

(2000).1

       But, if Petitioner does file a notice of appeal, he may proceed in forma pauperis

on appeal.

       SO ORDERED this 6th day of November, 2020.




                                              ____________________________________
                                              DAVID C. GODBEY
                                              UNITED STATES DISTRICT JUDGE




       1Rule 11 of the Rules Governing §§ 2254 and 2255 Cases, as amended effective on
December 1, 2009, reads as follows:

                (a) Certificate of Appealability. The district court must issue or deny a
certificate of appealability when it enters a final order adverse to the applicant. Before
entering the final order, the court may direct the parties to submit arguments on whether a
certificate should issue. If the court issues a certificate, the court must state the specific issue
or issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2). If the court denies a
certificate, the parties may not appeal the denial but may seek a certificate from the court of
appeals under Federal Rule of Appellate Procedure 22. A motion to reconsider a denial does
not extend the time to appeal.

               (b) Time to Appeal. Federal Rule of Appellate Procedure 4(a) governs the time
to appeal an order entered under these rules. A timely notice of appeal must be filed even if
the district court issues a certificate of appealability.

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